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                           UNITED STATES DISTRICT COURT                       APR 1 4 2015
                         SOUTHERN DISTRICT OF CALIFORNIA                 CLERK, U.S. QISTRICT COURT
                                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                     BY             't'      DEPUTY

UNITED STATES OF AMERICA,                     CASE NO. 14      008-LAB

                          Plaintiff,
                  vs.                         JUDGMENT OF DISMISSAL
SHANDRA DECOYE CAMARGO (7),

                          Defendant.


          IT APPEARING that the defendant is now ent              led to be discharged
for the reason that:

     an indictment has been filed in another case aga     the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has granted the motion of the Government for dismissal,
     without Drejudice; or

     the Court has granted the motion of the defendant                   a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the   0         e(s) as charged in the Indictment:

     21:841(a) (1); 18:2; 21:853 - Possession of Methamphetamine with Intent

      to Distribute; Aiding and Abetting; Criminal For              iture


                                                ~(;z;;;;:l: dis:rged.
          IT IS THEREFORE ADJUDGED
                                         that

 DATED: 4/14/15
                                              Mltchell D. Dembin
                                              U.S. Magistrate Judge
